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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 NORTHERN DIVISION

KEVIN SANFORD, individually and on
behalf of all others similarly situated                                             PLAINTIFF

v.                               Case No. 3:18-cv-00158 KGB

NUCOR-YAMATO STEEL COMPANY                                                        DEFENDANT

                                            ORDER

       Before the Court is the parties’ joint motion to stay all pretrial deadlines (Dkt. No. 35).

The parties jointly move for an order staying all pretrial deadlines pending this Court’s ruling on

the parties’ Joint Motion to Dismiss and for Approval of Settlement Agreement (Dkt. No. 34). For

good cause shown, the Court grants the parties’ motion (Dkt. No. 35). The Court stays all pretrial

deadlines in this matter, pending the outcome of the parties’ Joint Motion to Dismiss and for

Approval of Settlement Agreement (Dkt. No. 34).

       So ordered this the 18th day of September, 2020.



                                                           _____________________________
                                                            Kristine G. Baker
                                                            United States District Judge
